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13

14                             UNITED STATES DISTRICT COURT

15                          NORTHERN DISTRICT OF CALIFORNIA

16

17   CHRISTINE WHALEN, et al.,                   Case No. 3:23-cv-00459-VC
18                     Plaintiffs,               NOTICE OF MOTION AND MOTION OF
                                                 DEFENDANT THE KROGER CO. TO
19        v.                                     DISMISS; MEMORANDUM OF POINTS
                                                 AND AUTHORITIES IN SUPPORT
20   THE KROGER CO., ALBERTSONS
     COMPANIES, INC., and CERBERUS               Hon. Vince Chhabria
21   CAPITAL MANAGEMENT, L.P.,
                                                 Date: May 18, 2023
22                     Defendants.               Time: 10:00 a.m.
                                                 Courtroom: 5 – 17th Floor
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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                      Case No. 3:23-cv-00459-VC
 1                         NOTICE OF MOTION AND MOTION TO DISMISS

 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT on May 18, 2023, at 10:00 a.m., or as soon thereafter as the

 4   matter may be heard, in the courtroom of the Honorable Vince Chhabria, located at 450 Golden Gate

 5   Avenue, San Francisco, CA 94102, 17th Floor, Courtroom 4, Defendant The Kroger Co. (“Kroger”)

 6   will and hereby does respectfully move for an order dismissing Plaintiffs’ Complaint pursuant to

 7   Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6) on the grounds that Plaintiffs lack standing,

 8   their claims are not ripe, and they fail to state a claim upon which relief may be granted.

 9          This motion is based on this notice of motion and motion; the memorandum of points and

10   authorities contained herein; any reply papers that The Kroger Co. may file; upon all pleadings,

11   records, and papers on file in this action; and upon such further arguments as may be presented to the

12   Court at or prior to the hearing on the motion.

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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                                                 Case No. 3:23-cv-00459-VC
 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2           Plaintiffs bring this challenge to a proposed merger between Defendants The Kroger Co.

 3   (“Kroger”) and Albertsons Companies, Inc. (“Albertsons”) based on the incredible theory that every

 4   “non-trivial [merger] between significant rivals” constitutes a per se violation of the Clayton Act.

 5   Compl. ¶ 13 (ECF No. 1). But just last month, another Judge of this Court rejected that exact same

 6   theory, explaining that Plaintiffs’ “argument ignores binding Ninth Circuit precedent.” Order

 7   Granting Mot. to Dismiss, DeMartini v. Microsoft Corp., No. 3:22-cv-08991-JSC (N.D. Cal. Mar. 20,

 8   2023), ECF No. 74, at 10 (“Microsoft Order”). Indeed, no court has ever enjoined a merger in

 9   circumstances such as these, where private individuals have challenged a merger months before its

10   planned consummation date, while multiple governmental entities are reviewing the merger, and

11   before anyone even knows which stores will ultimately be acquired in the deal. This Court should

12   reject Plaintiffs’ claims and dismiss their two-count Complaint.

13           Plaintiffs’ Clayton Act claim challenging Kroger and Albertsons’ proposed merger (Count I)

14   fails because Plaintiffs fail to plead a plausible relevant market or the requisite harm in any such

15   market. The Clayton Act requires Plaintiffs to demonstrate a likely reduction in competition as a result

16   of the merger, yet Plaintiffs implausibly suggest that the “relevant geographic market” for evaluating

17   competition among supermarkets is the entire United States. Compl. ¶ 51; see id. ¶¶ 8, 21. Even the

18   Complaint contradicts Plaintiffs’ alleged nationwide market, asserting that “[c]ompetition for

19   supermarkets is local in nature.” Id. ¶ 52. By proposing a nationwide market, Plaintiffs ask this Court

20   to infer that consumers would take cross-country trips to do their grocery shopping in response to

21   small price changes. Moreover, even if Plaintiffs’ vague references to the existence of Kroger and

22   Albertsons stores in California (or Chicago and Seattle) are meant to allege smaller markets, Plaintiffs

23   have not even attempted to demonstrate that the merger would substantially reduce competition in

24   any of those (inadequately defined) markets. Plaintiffs’ failures to define a market or plausibly allege

25   anticompetitive effects in those markets are independently fatal to their Clayton Act claim.

26           The named plaintiffs also lack standing to pursue their Clayton Act claim. Their alleged harm

27   is supported by the lone allegation that they shopped at some Albertsons or Kroger store at some point

28   in the past four years, id. ¶ 29, and the conclusory assertion that prices may rise in the future, id. ¶ 44.
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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                  Case No. 3:23-cv-00459-VC
 1   But Plaintiffs have not established that these alleged increased prices are either particularized or likely

 2   to occur. The proposed merger is in the early stages of regulatory review and, as a part of that process,

 3   Defendants expect to divest a number of stores. See id. ¶ 20. If Kroger does not ultimately acquire an

 4   Albertsons store in a geographic market in which a named plaintiff resides, that individual will have

 5   no conceivable injury even under their own theory, much less the concrete and particularized injury

 6   necessary to demonstrate standing.

 7          Because the proposed merger is actively under review by the Federal Trade Commission

 8   (“FTC”) and state antitrust enforcers, Plaintiffs’ pre-divestiture claim is not ripe either: Litigating the

 9   hypothetical effects of a hypothetical transaction is premature, “an expensive challenge to a moving

10   target,” and “a waste of everyone’s time.” S. Austin Coal. Cmty. Council v. SBC Commc’ns, Inc., 191

11   F.3d 842, 845 (7th Cir. 1999). Any theoretical competitive effects of the merger are neither known

12   nor knowable when the scope of the merger has yet to be determined.

13          Plaintiffs’ Sherman Act claim challenging Albertsons’ payment of a Special Dividend

14   (“Dividend”) to its shareholders (Count II) is frivolous. See Compl. ¶¶ 4, 80-89. Indeed, Plaintiffs do

15   not even request a cognizable legal remedy. Their claim for injunctive relief is moot because

16   Albertsons issued the Dividend before Plaintiffs filed this Complaint. And their alternative request

17   for disgorgement is not an authorized remedy for private antitrust plaintiffs. It is also nonsensical as

18   applied to Kroger: Kroger did not pay or receive the Dividend and has nothing to disgorge. Finally,

19   prior to this suit, four separate courts (in two separate suits brought by four state attorneys general)

20   rejected materially identical conspiracy claims related to the Dividend. Those courts uniformly held

21   that Kroger never agreed with Albertsons to issue the Dividend and that the plaintiffs had no viable

22   Sherman Act claim because they could not demonstrate an antitrust agreement. Plaintiffs’ Complaint

23   provides no reason to depart from those well-reasoned decisions here.

24                                         ISSUES TO BE DECIDED

25          The issues to be decided are: (1) whether the Complaint should be dismissed for failure to

26   state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6); and (2) whether the Complaint

27   should be dismissed for lack of subject matter jurisdiction pursuant to Federal Rule of Civil Procedure

28   12(b)(1).
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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                  Case No. 3:23-cv-00459-VC
 1                                      FACTUAL BACKGROUND

 2          A.      Kroger and Albertsons’ Merger Agreement and the Special Dividend
 3          On October 13, 2022, Kroger signed a contract to purchase Albertsons (“Merger Agreement”).

 4   Compl. ¶ 82. But as Plaintiffs have recognized, the merger will not close until 2024. See Pls.’ Mot.

 5   for Prelim. Inj. 23-24 (ECF No. 28); Stip. and Order Modifying Briefing Schedule and Hearing Date

 6   for Pls.’ Mot. for Prelim. Inj. ¶ 6 (ECF No. 30). Meanwhile, the Merger’s closing depends on a number

 7   of contingencies, including the FTC’s review and approval of the acquisition. See, e.g., 15 U.S.C.

 8   § 18a(e)(2). As part of that review, the Merger Agreement recognizes that Kroger will not acquire all

 9   Albertsons stores, but instead contemplates the divestiture of “as many as 650” stores to alleviate any

10   competition-related concerns from regulators. Compl. ¶ 20. The Complaint does not allege—and the

11   Merger Agreement does not identify—which specific Albertsons stores Kroger will ultimately

12   purchase. While government review is ongoing, that fact is neither known nor knowable.

13          The Merger Agreement contains a provision that adjusts the per-share price that Kroger will

14   pay to acquire Albertsons in the event that Albertsons unilaterally decides to issue a “Special

15   Dividend” (“Dividend”) of up to $4 billion. See Compl. ¶ 4. The Merger Agreement does not require

16   Albertsons to pay the Dividend, allow Kroger to force Albertsons to pay the Dividend, or provide

17   Kroger with a remedy if Albertsons choses not pay the Dividend.

18          Before this lawsuit was filed, on January 20, 2023, Albertsons paid the Dividend. See Order,

19   District of Columbia v. Kroger, No. 22-7168 (D.C. Cir. Feb. 23, 2023) (dismissing appeal as moot

20   after refusing to enjoin the Dividend and after Albertsons paid the Dividend). As discussed below, it

21   did so only after four separate courts—in two separate lawsuits brought by four state attorneys general

22   (including California)—all declined to enjoin Albertsons’ payment of the Dividend, concluding that

23   Plaintiffs were unlikely to succeed in their claims that (1) there was an agreement between Kroger

24   and Albertsons to issue the Dividend, and (2) that there would be anticompetitive effects if Albertsons

25   choose to do so. See id.; infra at note 5. After Albertsons paid the Dividend, the plaintiff attorneys

26   general voluntarily dismissed their respective complaints.

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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                               Case No. 3:23-cv-00459-VC
 1          B.      Plaintiffs’ Allegations

 2          The named plaintiffs in this case are an assortment of 25 individuals in 11 states whose

 3   participation in this lawsuit depends on a single personal fact: that they shopped at an unidentified

 4   Kroger or Albertsons store at some point in the past four years. Compl. ¶ 29. Plaintiffs do not allege

 5   that they live in states (much less cities or neighborhoods) that have both Albertsons and Kroger

 6   stores. Indeed, at least nine of the Plaintiffs live in states in which the companies do not both own

 7   stores. Compare id. ¶ 29 (Plaintiffs’ residences), with id. ¶ 42 (map of Defendants’ stores). Parroting

 8   the Clayton Act, Plaintiffs allege that the merger is likely to “substantially lessen competition” and

 9   will increase prices for groceries and consumer goods. Id. ¶¶ 13-14, 44.

10          As to the critical question of where the merger might lessen competition, Plaintiffs provide

11   very few details, alleging that “[t]he relevant geographic market is the entire United States for grocery

12   stores, and smaller local relevant geographic markets within individual states.” Id. ¶ 16. Plaintiffs

13   allege that “[c]ompetition for supermarkets is local in nature as consumers typically do their grocery

14   shopping at stores located close to where they live or work,” id. ¶ 52, but their alleged examples of

15   sub-markets include the entire state of California and the cities of Chicago and Seattle, id. ¶ 43, even

16   though none of the named plaintiffs lives in those cities, see id. ¶ 29. The relevant product market for

17   their claims, Plaintiffs allege, is “supermarkets,” which they define as “any self-service full-line retail

18   grocery store offering customers substantially all of their weekly food and grocery shopping

19   requirements in a single shopping visit.” Id. ¶ 46.

20          Plaintiffs allege two counts. In Count I, Plaintiffs seek to enjoin Kroger’s proposed

21   acquisition of Albertsons under the Clayton Act. Id. ¶¶ 76-79. In Count II, Plaintiffs challenge

22   Albertsons’ Dividend under the Sherman Act, alleging a conspiracy among Albertsons, Kroger, and

23   Defendant Cerberus Capital Management, L.P. to “hamper, cripple, and shut down” Albertsons,

24   leaving it with insufficient capital to operate. Id. ¶ 84; see id. ¶¶ 82-89. Plaintiffs ask this Court to

25   enjoin the already-issued Dividend or to order “disgorge[ment]” of the Dividend. Id. ¶ 15.

26                                           LEGAL STANDARDS

27          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a plaintiff

28   must allege facts establishing a plausible claim for relief that exceeds a speculative level. Ashcroft v.
                                      -4-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                  Case No. 3:23-cv-00459-VC
 1   Iqbal, 556 U.S. 662, 678 (2009). “[L]abels and conclusions” and “‘naked assertion[s]’ devoid of

 2   ‘further factual enhancement’” do not constitute well-pleaded facts that are entitled to the presumption

 3   of truth. Id. (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)). This same

 4   standard applies when defendants facially challenge the court’s subject matter jurisdiction under Rule

 5   12(b)(1), including when defendants argue that plaintiffs lack standing or their claim is not ripe for

 6   resolution. See Safe Air For Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).

 7                                               ARGUMENT

 8     I.   THIS COURT SHOULD DISMISS PLAINTIFFS’ CLAYTON ACT CLAIM
 9          Plaintiffs’ Clayton Act claim fails on the merits. They fail to allege either a plausible

10   geographic market or actual or likely anticompetitive effects in any such market. This Court also lacks

11   subject matter jurisdiction for two reasons. First, Plaintiffs lack standing. While the Clayton Act

12   provides private plaintiffs a theoretical statutory cause of action, it does not provide Article III

13   standing, and it does not turn every grocery store consumer in the country into a roving antitrust

14   enforcer. Second, Plaintiffs’ claim is not ripe. Because the merger review and divestiture process is

15   ongoing, the ultimate contours of the deal are unknown and unknowable at this time.

16          A.      Plaintiffs Have Failed to Allege a Relevant Market or Anticompetitive Effects

17          Section 7 of the Clayton Act prohibits mergers whose effect “may be substantially to lessen

18   competition, or to tend to create a monopoly.” 15 U.S.C. § 18. “Section 7 of the Clayton Act requires

19   [c]onsumers to ‘first establish a prima facie case that a merger is anticompetitive.’” DeHoog v.

20   Anheuser-Busch InBev SA/NA, 899 F.3d 758, 763 (9th Cir. 2018) (quoting Saint Alphonsus Med. Ctr.-

21   Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 783 (9th Cir. 2015)).

22          The “threshold step in any antitrust case is to accurately define the relevant market, which

23   refers to ‘the area of effective competition.’” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir.

24   2020) (quoting Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018)). As the Microsoft Order

25   recently reaffirmed, “[d]etermination of the relevant product and geographic markets is a necessary

26   predicate to deciding whether a merger contravenes the Clayton Act,” Microsoft Order at 5 (quoting

27   Saint Alphonsus Med. Ctr.-Nampa Inc., 778 F.3d at 788 (emphasis added)), because it is impossible

28   to assess anticompetitive effects without understanding where the alleged reduction in competition
                                      -5-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                               Case No. 3:23-cv-00459-VC
 1   will occur, see United States v. Marine Bancorp., Inc., 418 U.S. 602, 618 (1974); Fount-Wip, Inc. v.

 2   Reddi-Wip, Inc., 568 F.2d 1296, 1301 (9th Cir. 1978) (plaintiffs failed to meet their burden because

 3   “of their failure adequately to define and to prove the relevant market, which is ‘a necessary predicate’

 4   for evaluating claims under” Section 7 of the Clayton Act (citation omitted)). The failure to allege a

 5   plausible geographic market requires dismissal. See, e.g., Tanaka v. Univ. of S. Cal., 252 F.3d 1059,

 6   1063 (9th Cir. 2001); California v. Sutter Health Sys., 130 F. Supp. 2d 1109, 1118 (N.D. Cal. 2001).

 7          Plaintiffs’ allegation that “[t]he relevant geographic market is the United States,” Compl. ¶ 51,

 8   is facially implausible.1 In the antitrust context, the relevant geographic market is the “area of

 9   effective competition” to which consumers can “turn for alternate sources of supply” (here, alleged

10   to be “supermarkets,” id. ¶ 45) in response to small price changes. Tanaka, 252 F.3d at 1063 (citation

11   omitted). Plaintiffs’ allegations of a nationwide market for supermarkets requires this Court to infer

12   that consumers might fly from San Francisco to New York City for their weekly grocery shopping.

13   Compl. ¶ 47.

14          Plaintiffs appear to acknowledge that their own allegations are implausible, alleging that

15   “[c]ompetition for supermarkets is local in nature as consumers typically do their grocery shopping

16   at stores located close to where they live or work.” Id. ¶ 52. Courts evaluating prior grocery store

17   mergers have defined the relevant geographic markets around the grocery options available in discrete

18   neighborhoods rather than cities or states. See, e.g., FTC v. Whole Foods Mkt., Inc., 502 F. Supp. 2d

19   1, 37 (D.D.C. 2007) (defining relevant geographic markets as ones with healthy grocery stores within

20   a “six mile radius” of one another), rev’d on other grounds, 548 F.3d 1028 (D.C. Cir. 2008); Delco

21   LLC v. Giant of Md., LLC, No. 07-cv-3522, 2007 WL 3307018, at *18-19 (D.N.J. Nov. 8, 2007)

22   (rejecting market definition that excluded two supermarkets within six miles).

23          Plaintiffs’ allegations of a nationwide market for supermarket competition border on

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25   1
       Plaintiffs’ alleged product market for “supermarkets” is also implausibly narrow, see Compl. ¶ 46,
     as it ignores modern realities of stores like Walmart and Target—which also provide a “full-line” of
26   retail grocery products and offer customers “substantially all of their weekly food and grocery
     shopping requirements in a single shopping visit”—as well as the plethora of other stores that have
27   “grocery shopping” offerings and the growth of online grocery options. See FTC v. RAG-Stiftung,
     436 F. Supp. 3d 278, 292 (D.D.C. 2020) (rejecting plaintiff’s proposed product market as “overbroad
28   and inconsistent with the commercial realities of the industry”).
                                      -6-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                Case No. 3:23-cv-00459-VC
 1   frivolous, and courts routinely dismiss antitrust complaints based on the failure to allege a coherent

 2   geographic market. See Netafim Irrigation, Inc. v. Jain Irrigation, Inc., 562 F. Supp. 3d 1073, 1084-

 3   85 (E.D. Cal. 2021) (collecting cases properly alleging “‘local’ geographic markets,” but dismissing

 4   complaint that failed to identify analogous “limiting principles”); Concord Assocs., L.P. v. Ent. Props.

 5   Tr., 817 F.3d 46, 53-54 (2d Cir. 2016) (affirming dismissal based on failure to allege geographic

 6   market); see also Hicks v. PGA Tour, Inc., 165 F. Supp. 3d 898, 910 (N.D. Cal. 2016) (rejecting

 7   antitrust claims where plaintiffs alleged “[un]natural” and “artificial” product markets that were

 8   “contorted to meet their litigation needs”), aff’d in relevant part, 897 F.3d 1109 (9th Cir. 2018).

 9          Plaintiffs’ suggestion that some unidentified “smaller local relevant geographic markets” may

10   exist does not save their claim. Compl. ¶ 16; see Killian Pest Control, Inc. v. HomeTeam Pest Defense,

11   Inc., No. 14-cv-05239-VC, 2015 WL 3766754, at *1-3 (N.D. Cal. June 16, 2015) (granting motion to

12   dismiss where plaintiff’s alleged geographic market was “vague and conclusory”). For instance,

13   Plaintiffs allege that Albertsons and Kroger both own stores “in California,” Compl. ¶ 43, but a

14   statewide market is no more plausible than a nationwide market, as it suggests a San Diegan might

15   regularly drive more than seven hours up I-5 to buy ice cream in Sacramento. Even defining

16   geographic markets based on the smallest units Plaintiffs identify (Chicago and Seattle) would require

17   an inference that consumers might traverse a major metropolitan area to buy their groceries. See id.

18   And Plaintiffs have offered the Court no metric or basis on which such markets could be evaluated

19   throughout the United States. See Netafim Irrigation, 562 F. Supp. 3d at 1084. In short, Plaintiffs’

20   proposed geographic market is unsupported by factual allegations and untethered to the realities of

21   consumer behavior. See Twombly, 550 U.S. at 555. It warrants no credence.

22          Even if a state- or city-wide geographic market were plausible (and had been adequately

23   pleaded), Plaintiffs fail to allege any facts indicating that the Kroger-Albertsons merger would

24   substantially lessen competition in such markets. See 15 U.S.C. § 18; DeHoog, 899 F.3d at 763.

25   Rather, Plaintiffs’ only factual allegations suggesting lessened competition rest on nationwide

26   statistics of market concentration. See, e.g., Compl. ¶ 44; see also id. ¶¶ 8, 18, 21, 30-31. To be sure,

27   increased post-merger market share is one factor that can suggest anticompetitive effects in some

28   circumstances. See United States v. Baker Hughes Inc., 908 F.2d 981, 990 (D.C. Cir. 1990) (Thomas,
                                      -7-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                Case No. 3:23-cv-00459-VC
 1   J.) (noting Supreme Court has cut back “sharply” on its prior exclusive focus on market share). Yet

 2   Plaintiffs have not even alleged market concentration in any local market, and no court in history has

 3   accepted Plaintiffs’ per se theory of anticompetitive effects. See Microsoft Order at 10 (quoting

 4   Malaney v. UAL Corp., No. 3:10-cv-02858, 2010 WL 3790296, at *7 n.11 (N.D. Cal. Sept. 27, 2010)

 5   (“Simply put, there is no support for the notion that, merely by removing one competitor, any

 6   horizontal merger in the airline industry will be anticompetitive and thereby violate Section 7.”), aff’d,

 7   434 F. App’x 620 (9th Cir. 2011); Bradt v. T-Mobile US, Inc., No. 19-cv-07752, 2020 WL 1233939,

 8   at *4 (N.D. Cal. Mar. 13, 2020) (finding no support for a “per se rule whenever a merger is

 9   proposed”); In re AMR Corp., No. 22-901, 2023 WL 2563897, at *1 (2d Cir. Mar. 20, 2023)

10   (“reject[ing] Plaintiffs’ view” that courts are “obliged by Supreme Court precedent from the 1960s to

11   treat post-merger market share as virtually conclusive of a Section 7 violation”).

12          In sum, even “[i]f market share alone can satisfy a prima facie burden, it at least has to be

13   market share in a relevant market.” See Microsoft Order at 11 (citing Med Vets, Inc. v. VIP Petcare

14   Holdings, Inc., 811 F. App’x 422, 423-24 (9th Cir. 2020)). Plaintiffs’ allegations of Defendants’ post-

15   merger market concentration and market power rely exclusively on their alleged “national market.”

16   They do not even attempt to allege market concentration or anticompetitive effects in any market

17   smaller than the entire country. That pleading failure is fatal to the merits of their Clayton Act claim.2

18          B.      Plaintiffs Lack Standing

19          While the Clayton Act provides a statutory private cause of action, it does not supplant

20   Plaintiffs’ burden of establishing Article III standing, see TransUnion LLC v. Ramirez, 141 S. Ct.

21   2190, 2203 (2021), which is particularly difficult for private parties to satisfy when bringing a

22   prospective pre-merger lawsuit, see Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401-02 (2013)

23   (denying “prospective relief” for “hypothetical future harm that is not certainly impending”). That

24   difficulty is precisely why private merger enforcement suits like this one have never been successful,

25   and why government regulators historically have played the only relevant role in modern ex ante

26   2
      Plaintiffs’ allegations of harm to the “competition for labor,” Compl. ¶ 62, is wholly conclusory and
     warrants no consideration. Indeed, Plaintiffs do not even allege that they work in the supermarket
27   business. As in the Microsoft Order, therefore, “Plaintiffs do not contend the alleged anticompetitive
     effects in the labor market will damage them; thus, they do not have standing to pursue such claim.”
28   Microsoft Order at 4-5. Plaintiffs also have not identified a plausible geographic market for labor.
                                      -8-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                 Case No. 3:23-cv-00459-VC
 1   antitrust merger enforcement. See Herbert Hovenkamp & Phillip Areeda, Antitrust Law ¶ 303e3 (4th

 2   ed. 2019) (“[A]ctual or threatened harm to a person with standing is an essential element of the private

 3   plaintiff’s equity case, but not of the government’s.”).

 4          Plaintiffs’ bare allegations of “increased prices” following the merger fail to satisfy their

 5   burden of alleging Article III standing. See Saxton v. Cnty. of Sonoma, No. 21-cv-09499, 2022 WL

 6   3549779, at *2 (N.D. Cal. Aug. 17, 2022) (“[T]he plaintiff has the burden of alleging and proving

 7   that he has standing to sue.”). “[T]he ‘irreducible constitutional minimum’ of standing” requires that

 8   Plaintiff have “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of

 9   the defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v.

10   Robins, 578 U.S. 330, 338 (2016) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

11   The alleged injury in fact must be both “concrete and particularized” and “actual or imminent, not

12   conjectural or hypothetical.” Id. at 339 (citation omitted). To state a claim, private plaintiffs must

13   therefore show a threat of injury that is “certainly impending.” Clapper, 568 U.S. at 409; see also

14   Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986).3

15          Plaintiffs here cannot do so. Plaintiffs’ alleged injury of increased prices is neither

16   particularized nor traceable to any “alleged antitrust violation” in this case. Carter Hawley Hale

17   Stores, Inc. v. Ltd., Inc., 587 F. Supp. 246, 250 n.3 (C.D. Cal. 1984) (quoting City of Rohnert Park v.

18   Harris, 601 F.2d 1040, 1044 (9th Cir. 1979)). To support their asserted injury, Plaintiffs allege that

19   they “made purchases at the Defendants’ stores within the last four years,” Compl. ¶ 29, and speculate

20   that prices in those unspecified stores may increase post-merger, id. ¶ 44. They allege nothing else.

21          Plaintiffs’ vague allegations do not seek to satisfy the constitutional-standing requirement so

22   much as attempt to eliminate it altogether. Under Plaintiffs’ theory of antitrust enforcement, every

23   Albertsons or Kroger consumer in the United States could independently sue to enjoin any “non-

24   trivial transaction,” id. ¶ 7, irrespective of whether Kroger and Albertsons currently compete at all in

25   their geographic market. That is the opposite of a “particularized” injury. See Hein v. Freedom From

26   Religion Found., Inc., 551 U.S. 587, 598-600 (2007) (emphasizing importance of constitutional

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     3
      In the context of a private consumer’s ex ante merger challenge, the requirement of demonstrating
28   “antitrust standing” largely overlaps with the requirements of Article III standing.
                                      -9-
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                Case No. 3:23-cv-00459-VC
 1   standing requirement where plaintiffs’ alleged injuries cannot be differentiated from others’ alleged

 2   injuries). It is unsurprising that no court in history has endorsed such a theory.

 3          Moreover, Plaintiffs’ alleged injury has not occurred, and their allegations of future injury are

 4   both speculative and conclusory. See Spokeo, 578 U.S. at 338 (“[A]t the pleading stage, the plaintiff

 5   must ‘clearly . . . allege facts demonstrating’ each element.” (citation omitted)). Plaintiffs cannot

 6   establish likely or actual anticompetitive harm without knowing which Albertsons stores Kroger will

 7   ultimately acquire in the merger. Yet, as Plaintiffs themselves acknowledge, the merger “allows for

 8   a divestiture of as many as 650 Albertsons stores” during the regulatory review process. Compl. ¶ 20.

 9   Accordingly, the FTC and state regulators’ review is almost certain to result in divestitures that will

10   change the structure of the merger and the likely competitive landscape post-merger.

11          Before that regulatory review is complete, Plaintiffs’ speculative suggestions of future harm

12   remain untethered to any real-world facts. See Order, Cassan Enters., Inc. v. Avis Budget Grp., Inc.,

13   No. 2:10-cv-01934 (W.D. Wash. Mar. 11, 2011), ECF No. 39, at 2-3, 5. In Cassan, for instance, the

14   court found that Plaintiffs could not clear the necessary hurdle of alleging an injury that was “certainly

15   impending” because the FTC was “still reviewing the proposed acquisition” and “aspects of the

16   acquisition may change as a result of the Commission’s review.” Id. at 5. The court dismissed the

17   plaintiff’s conjectural claims. Id. at 5-6; see SureShot Golf Ventures, Inc. v. Topgolf Int’l, Inc., No.

18   17-cv-127, 2017 WL 3658948, at *4 (S.D. Tex. Aug. 24, 2017) (plaintiff’s “perceived threats of

19   monopolistic behavior are speculative and do not confer standing”), aff’d in part & modified in part,

20   754 F. App’x 235 (5th Cir. 2018). In sum, it is Plaintiffs’ burden to establish standing, Saxton, 2022

21   WL 3549779, at *2, and their conclusory allegations do not come close to meeting that burden.

22          C.      Plaintiffs’ Clayton Act Claim Is Not Ripe

23          For similar reasons, Plaintiffs’ claim is not ripe. To proceed, a “case must be ‘ripe’—not

24   dependent on ‘contingent future events that may not occur as anticipated, or indeed may not occur at

25   all.’” Trump v. New York, 141 S. Ct. 530, 535 (2020) (quoting Texas v. United States, 523 U.S. 296,

26   300 (1998)). Otherwise, the Court lacks jurisdiction and the case must be dismissed. See Addington

27   v. US Airline Pilots Ass’n, 606 F.3d 1174, 1179 (9th Cir. 2010). But as noted above, Plaintiffs cannot

28   establish—and this Court cannot properly analyze—the merger’s likely anticompetitive harm without
                                      - 10 -
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                 Case No. 3:23-cv-00459-VC
 1   knowing which Albertsons stores Kroger will acquire and which will be divested, and that will not

 2   happen until the end of the regulatory review process that is underway.

 3           Courts have dismissed similar antitrust claims seeking to enjoin prospective mergers on

 4   ripeness grounds. For example, in South Austin Coalition Community Council v. SBC

 5   Communications, Inc., 191 F.3d 842 (7th Cir. 1999), the court affirmed the dismissal of an antitrust

 6   suit that sought to enjoin a merger that had not yet closed and was still subject to review by the Federal

 7   Communications Commission. Id. at 842-43, 845. The Seventh Circuit noted that “[c]ourts often wait

 8   for agencies, even when the agencies’ views are not legally conclusive—not only because the

 9   agencies may have something helpful to say, but also because what the agencies do may shape the

10   litigation.” Id. at 844. “Regulatory agencies can raise or lower” the barriers to competition, id. at 845,

11   or (as in this case), require divestitures.

12           In these circumstances, it “is impossible to analyze a potential-competition claim” prior to

13   knowing the final terms of the transaction. Id. Litigation at a premature stage would be an “expensive

14   challenge to a moving target” and “a waste of everyone’s time.” Id.; see also AT & T Mobility LLC

15   v. Bernardi, Nos. 11-cv-03992, 11-cv-04412, 2011 WL 5079549, at *12 (N.D. Cal. Oct. 26, 2011)

16   (noting merger challenges are unripe “until all required state and federal approvals have been

17   obtained—for the agencies might insist on changes that would substantially alter the merger’s

18   competitive effects”). That same reasoning applies with increased force here, where the regulatory

19   review process will affect which geographic markets—if any—the Court would even need to analyze

20   under the Clayton Act.

21    II.    PLAINTIFFS FAIL TO STATE A SHERMAN ACT CLAIM

22           Plaintiffs’ Sherman Act claim does not seek cognizable relief as to Kroger: Their request for

23   an injunction is moot and their claim for disgorgement is nonsensical and unavailable as a matter of

24   law. In addition, Plaintiffs’ Sherman Act claim fails because Plaintiffs do not—and cannot—allege

25   sufficient facts to establish that Kroger agreed with the other Defendants to issue the Dividend. The

26   reality is that Kroger never asked Albertsons to pay the Dividend, never agreed to pay the Dividend,

27   did not control the Dividend, did not pay the Dividend, and did not receive the Dividend. Albertsons’

28   payment of the Dividend was unilateral and cannot form the basis of a Sherman Act claim.
                                      - 11 -
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                 Case No. 3:23-cv-00459-VC
 1          A.      Plaintiffs’ Requested Remedies Are Not Legally Authorized

 2          Putting aside the merits, Count II fails because Plaintiffs’ two requested remedies—(1) an

 3   injunction and (2) disgorgement—are either moot or not authorized under the Sherman Act.

 4          First, Plaintiffs’ request for injunctive relief is moot because Albertsons issued the Dividend

 5   on January 20, 2023, and “all of the events sought to be enjoined have now occurred.” McKee & Co.

 6   v. First Nat. Bank of San Diego, 397 F.2d 248, 249 (9th Cir. 1968) (per curiam). As discussed infra

 7   at p. 14, when Albertsons first announced its Dividend, four state attorneys general filed two lawsuits

 8   seeking to enjoin the Dividend. When those efforts failed, Albertsons issued the Dividend, the parties

 9   in the D.C. litigation agreed that the request for injunctive relief was moot, and the D.C. Circuit

10   dismissed the appeal on that basis. Order, District of Columbia v. Kroger, No. 22-7168 (D.C. Cir.

11   Dec. 20, 2022). “A request for injunctive relief remains live only so long as there is some present

12   harm to enjoin.” Bayer v. Neiman Marcus Grp., Inc., 861 F.3d 853, 864 (9th Cir. 2017) (citation

13   omitted). As the D.C. Circuit recognized, there is no such harm here.

14          Second, Plaintiffs’ request for disgorgement is nonsensical as to Kroger. See In re Ditropan

15   XL Antitrust Litig., 529 F. Supp. 2d 1098, 1102 (N.D. Cal. 2007) (defining disgorgement as

16   “compel[ling] a defendant to surrender all money [or profits] obtained through an unfair business

17   practice” (citation omitted)). Kroger has taken no action with regard to the Dividend, it has no

18   Dividend payment to disgorge, and it cannot grant any relief to Plaintiffs. See Hateley v. SEC, 8 F.3d

19   653, 655 (9th Cir. 1993) (“The purpose of disgorgement is to deprive a person of ‘ill-gotten gains’

20   and prevent unjust enrichment.” (citation omitted)).

21          Nor would disgorgement redress Plaintiffs’ alleged harm. Plaintiffs do not allege that they

22   have overpaid for groceries or that Defendants have unjustly profited from the Dividend. Instead,

23   Plaintiffs’ Dividend-based antitrust theory rests on the allegation that Albertsons will be crippled

24   unless it retains the liquidity it expended on the Dividend. See Compl. ¶ 84. Any coherent theory of

25   relief would thus need to put money back in Albertsons’ pocket, not provide Plaintiffs a windfall.

26   Plaintiffs have articulated no personal interest in the disgorgement they seek and have identified no

27   personal injuries that disgorgement would remedy. See Uzuegbunam v. Preczewski, 141 S. Ct. 792,

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                                      - 12 -
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                               Case No. 3:23-cv-00459-VC
 1   801 (2021) (“[A] plaintiff must maintain a personal interest in . . . each form of relief sought.” (citation

 2   omitted)).

 3           Even if disgorgement made some logical sense here, “the Ninth Circuit disallows private use

 4   of Section 16 to pursue disgorgement.” In re: Cathode Ray Tube (Crt) Antitrust Litig., No. 07-cv-

 5   5944, 2016 WL 3648478, at *13 (N.D. Cal. July 7, 2016); see id. (collecting cases). Section 16

 6   provides a private cause of action “against threatened loss or damage by a violation of the antitrust

 7   laws.” 15 U.S.C. § 26 (emphasis added). Disgorgement, in contrast, “is a form of retrospective

 8   equitable relief.” Coal. for ICANN Transparency Inc. v. VeriSign, Inc., 771 F. Supp. 2d 1195, 1202

 9   (N.D. Cal. 2011). “Such relief is unavailable under Section 16.” Id.; see In re Multidistrict Vehicle

10   Air Pollution, 538 F.2d 231, 234 (9th Cir. 1976) (“Recovery for past losses is properly covered under

11   [Section] 4; it comes under the head of ‘damages.’”). Without any cognizable legal remedy to award

12   against Kroger, Plaintiffs’ Count II must be dismissed. See Uzuegbunam, 141 S. Ct. at 801.

13           B.      Plaintiffs Fail to Allege an Unlawful Agreement Regarding the Dividend

14           Even assuming there were a remedy for the Court to award against Kroger, Plaintiffs have

15   failed to state a Sherman Act claim. To establish an “agreement” under Section 1 of the Sherman Act,

16   Plaintiffs must present direct or circumstantial evidence that Kroger and Albertsons “had a conscious

17   commitment to a common scheme designed to achieve an unlawful objective.” Monsanto Co. v.

18   Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984) (citation omitted). Under this standard, “conduct

19   [that is] as consistent with permissible competition as with illegal conspiracy does not, standing alone,

20   support an inference of antitrust conspiracy.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

21   U.S. 574, 588 (1986); First Nat’l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 279-84 (1968). Thus,

22   “[t]here must be evidence that tends to exclude the possibility that [Defendants] were acting

23   independently.” Monsanto Co., 465 U.S. at 764 (emphasis added); see also Copperweld Corp. v.

24   Indep. Tube Corp., 467 U.S. 752, 768 (1984) (Section 1 of the Sherman Act “does not reach conduct

25   that is ‘wholly unilateral’” (citation omitted)).4

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      Plaintiffs’ failure to allege a relevant market also dooms their Sherman Act claim. See supra at pp.
28   5-8.
                                      - 13 -
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                  Case No. 3:23-cv-00459-VC
 1          The Complaint makes the “formulaic recitation,” Twombly, 550 U.S. at 555, that “Kroger and

 2   Albertsons have agreed that Albertsons will provide a ‘special dividend,’” Compl. ¶ 38, but it alleges

 3   no facts that, if proven, would allow a factfinder to find the existence of such an agreement. As

 4   numerous courts have recognized (after discovery into this very issue), no such facts exist. Indeed,

 5   one federal court in the District of Columbia on three occasions held that a materially similar

 6   challenge—brought by the District of Columbia and the States of California and Illinois—was

 7   unlikely to succeed on the merits because, inter alia, the plaintiff attorneys general had failed to

 8   demonstrate that Kroger agreed that Albertsons would declare or pay the Dividend.5 On plaintiffs’

 9   emergency appeal, the D.C. Circuit likewise denied plaintiffs’ request for injunctive relief. Order,

10   District of Columbia v. Kroger, No. 22-7168 (D.C. Cir. Dec. 20, 2022). Similarly, in a suit brought

11   by the State of Washington, a Washington state court denied an equivalent request for injunctive relief

12   following an extensive evidentiary hearing, Order, Washington v. Albertsons Companies, Inc., No.

13   22-2-18046-SEA (Wash. Super. Ct. Dec. 9, 2022), and the Supreme Court of Washington denied

14   discretionary review, Order, Washington v. Albertsons Companies Inc., No. 101530-5 (Wash. Jan.

15   17, 2023). After their appeals failed, plaintiff attorneys general voluntarily dismissed their claims.

16          In sum, no court to consider Plaintiffs’ novel antitrust theory has given it any credence, and

17   Plaintiffs’ sparse allegations in this case provide no reason to reach a different conclusion here.

18                                              CONCLUSION

19          For the foregoing reasons, the Complaint should be dismissed in its entirety, with prejudice.

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       See Minute Order Denying Request for Temp. Restraining Order, District of Columbia v. Kroger,
27   No. 1:22-cv-03357 (D.D.C. Nov. 8, 2022); Order Denying Motion for Prelim. Inj., District of
     Columbia v. Kroger, No. 1:22-cv-03357 (D.D.C. Dec. 12, 2022); Order Denying Motion for Temp.
28   Inj. Pending Appeal, District of Columbia v. Kroger, No. 1:22-cv-03357 (D.D.C. Dec. 14, 2022).
                                      - 14 -
     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                                Case No. 3:23-cv-00459-VC
 1   Dated: April 12, 2023.         ARNOLD & PORTER KAYE SCHOLER LLP

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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS            Case No. 3:23-cv-00459-VC
 1                                     CERTIFICATE OF SERVICE

 2          The undersigned certifies that on April 12, 2023, the foregoing document was filed with the

 3   Clerk of the U.S. District Court for the Northern District of California, using the court’s electronic

 4   filing system (ECF), in compliance with Civil L.R. 5-1. The ECF system serves a “Notice of

 5   Electronic Filing” to all parties and counsel who have appeared in this action, who have consented

 6   under Civil L.R. 5-1 to accept that Notice as service of this document.

 7   Dated: April 12, 2023

 8                                                        /s/ Daniel B. Asimow
                                                          Daniel B. Asimow
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     DEFENDANT THE KROGER CO.’S MOTION TO DISMISS                              Case No. 3:23-cv-00459-VC
